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                           Exhibit 5


   Billing Detail for PCLLP’s Fourth Interim Fee Application
                          Case 21-10023-JTD                    Doc 401-6    Filed 12/27/21       Page 2 of 8




                                                                                                                     October 11, 2021
                                                                                                              Invoice Number: 501154
James Decker
c/o JDecker & Company                                                       **Please note our new and updated remittance address and
5035 Riverview Road, NW                                                    banking information as shown at the bottom of this page and
Atlanta, GA 30327                                                                                    update your records accordingly.**
jim@jdeckerco.com




RE: 29441.00001                 Marriott Wardman Park Dispute



For professional services rendered through September 30, 2021:

          Total Fees                                                                       $2,791.00

          Total Disbursements                                                                $343.85

                                TOTAL THIS INVOICE                                         $3,134.85




For billing inquiries please email: billing@pryorcashman.com                                        Federal Tax Identification Number:


All amounts are expressed in United States Dollars. To ensure proper credit to the above account, please indicate invoice no.
501154. Details of invoices being paid can be emailed to: receipts@pryorcashman.com.

Wire and ACH Instructions:                                                       Check Remittance Address:
                                                                                 Pryor Cashman LLP
                                                                                 P.O. Box 22556
                                                                                 New York, NY 10087-2556


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                      Case 21-10023-JTD             Doc 401-6           Filed 12/27/21    Page 3 of 8
Pryor Cashman LLP                                                                                                      Page 2
29441: Wardman Hotel Owner, LLC                                                                       Invoice Number: 501154
00001: Marriott Wardman Park Dispute                                                                 as of September 30, 2021



                                                Description Of Services Rendered

Date       Initials   Description                                                                       Hours        Amount
09/01/21 BTM          Hearing on Debtor's Motion for Entry of an Order (I) Granting Interim               0.70        504.00
                      Approval of the Disclosure Statement; (II) Scheduling a Plan Confirmation
                      Hearing and Approving Deadlines Related Thereto; (III) Approving
                      Solicitation Packages and Procedures; (IV) Approving the Forms of Ballots;
                      and (V) Granting Related Relief (.5); review proposed order (.2).

09/01/21 IYR          Attend hearing. (.5)                                                                0.50        265.00

09/02/21 IYR          Review Debtor's objection to disallow certain claims (.1). Case management          0.20        106.00
                      (.1)

09/15/21 IYR          Review documents related to plan approval/related motions; discuss same             0.60        318.00
                      with team

09/17/21 IYR          Case management (.1). Begin preparing third fee application(.6).                    0.70        371.00

09/20/21 IYR          Review papers filed in support of confirmation of plan (.3). Attend to fee          0.80        424.00
                      app (.1) Attend court hearing re: plan approval. (.4)

09/20/21 BTM          Prepare for hearing on plan approval, confer w/ IR re same (.6).                    0.60        432.00

09/21/21 IYR          Attend to fee app. (.1)                                                             0.10         53.00

09/22/21 IYR          Work on third fee application. (.4)                                                 0.40        212.00

09/23/21 IYR          Work on and finalize third interim fee app. (.2)                                    0.20        106.00

                      Total Services Rendered                                                             4.80     $2,791.00




                                                     Summary of Services

Name                                                        Title                            Hours    Bill Rate      Amount
B. T. Mohler                                                Partner                           1.30     720.00         936.00
I. Y. Raz                                                   Associate                         3.50     530.00       1,855.00
Total Services Rendered                                                                       4.80                 $2,791.00




                                                 Description of Disbursements

                 Description                                                                            Amount
                 Electronic Discovery                                                                    338.33
                 Reproduction                                                                              5.52
                   Case 21-10023-JTD   Doc 401-6   Filed 12/27/21   Page 4 of 8
Pryor Cashman LLP                                                                             Page 3
29441: Wardman Hotel Owner, LLC                                              Invoice Number: 501154
00001: Marriott Wardman Park Dispute                                        as of September 30, 2021



               Description                                                    Amount
               Total Disbursements                                            $343.85

TOTAL CURRENT FEES AND DISBURSEMENTS                                                      $3,134.85
                          Case 21-10023-JTD                    Doc 401-6    Filed 12/27/21       Page 5 of 8




                                                                                                                     October 11, 2021
                                                                                                              Invoice Number: 501154
James Decker
c/o JDecker & Company                                                       **Please note our new and updated remittance address and
5035 Riverview Road, NW                                                    banking information as shown at the bottom of this page and
Atlanta, GA 30327                                                                                    update your records accordingly.**
jim@jdeckerco.com




RE: 29441.00001                 Marriott Wardman Park Dispute



For professional services rendered through September 30, 2021:

          Total Fees                                                                       $2,791.00

          Total Disbursements                                                                $343.85

                                TOTAL THIS INVOICE                                         $3,134.85




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                                                                                 New York, NY 10087-2556


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                          Case 21-10023-JTD                    Doc 401-6    Filed 12/27/21       Page 6 of 8




                                                                                                                   November 04, 2021
                                                                                                              Invoice Number: 503670
James Decker
c/o JDecker & Company                                                       **Please note our new and updated remittance address and
5035 Riverview Road, NW                                                    banking information as shown at the bottom of this page and
Atlanta, GA 30327                                                                                    update your records accordingly.**
jim@jdeckerco.com




RE: 29441.00001                 Marriott Wardman Park Dispute



For professional services rendered through October 31, 2021:

          Total Fees                                                                         $388.00

          Total Disbursements                                                                $337.52

                                TOTAL THIS INVOICE                                           $725.52




For billing inquiries please email: billing@pryorcashman.com                                        Federal Tax Identification Number:


All amounts are expressed in United States Dollars. To ensure proper credit to the above account, please indicate invoice no.
503670. Details of invoices being paid can be emailed to: receipts@pryorcashman.com.

Wire and ACH Instructions:                                                       Check Remittance Address:
                                                                                 Pryor Cashman LLP
                                                                                 P.O. Box 22556
                                                                                 New York, NY 10087-2556


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                      Case 21-10023-JTD               Doc 401-6         Filed 12/27/21   Page 7 of 8
Pryor Cashman LLP                                                                                                    Page 2
29441: Wardman Hotel Owner, LLC                                                                    Invoice Number: 503670
00001: Marriott Wardman Park Dispute                                                                 as of October 31, 2021



                                               Description Of Services Rendered

Date       Initials   Description                                                                      Hours       Amount
10/12/21 IYR          case management. (.1)                                                             0.10         53.00

10/13/21 IYR          Emails with e-discovery team and client re e-discovery storage-related            0.20        106.00
                      items.

10/18/21 IYR          Attend to filing of certificate of no objection (.1).                             0.10         53.00

10/26/21 AA           Draft email communications to Mr. Raz with assembled workspace export             0.30        123.00
                      information;

10/29/21 IYR          case management (issues related to discovery portal). (.1).                       0.10         53.00

                      Total Services Rendered                                                           0.80       $388.00




                                                       Summary of Services

Name                                                         Title                         Hours   Bill Rate       Amount
I. Y. Raz                                                    Associate                      0.50    530.00          265.00
A. Antoniou                                                  E-Disc. Specs.                 0.30    410.00          123.00
Total Services Rendered                                                                     0.80                   $388.00




                                                 Description of Disbursements

                 Description                                                                        Amount
                 Electronic Discovery                                                                337.52
                 Total Disbursements                                                                $337.52

TOTAL CURRENT FEES AND DISBURSEMENTS                                                                               $725.52
                          Case 21-10023-JTD                    Doc 401-6    Filed 12/27/21       Page 8 of 8




                                                                                                                   November 04, 2021
                                                                                                              Invoice Number: 503670
James Decker
c/o JDecker & Company                                                       **Please note our new and updated remittance address and
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Atlanta, GA 30327                                                                                    update your records accordingly.**
jim@jdeckerco.com




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For professional services rendered through October 31, 2021:

          Total Fees                                                                         $388.00

          Total Disbursements                                                                $337.52

                                TOTAL THIS INVOICE                                           $725.52




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